   Case 25-03043            Doc 4   Filed 05/06/25 Entered 05/06/25 17:14:18   Desc Main
                                       Document    Page 1 of 2



                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MINNESOTA

IV Media, LLC, a Minnesota limited                       Adv. Pro. No. 25-03043 (WJF)
liability company, and IV Media Properties,
LLC, a Minnesota limited liability company,

                    Plaintiffs,
                                                       NOTICE OF OBJECTION
          v.
                                                   TO REMOVAL FROM THE UNITED
Pontus IMB Portfolio, LLC, a Delaware               STATES DISTRICT COURT FOR
limited liability company, and Pontus Net           THE DISTRICT OF MINNESOTA
Lease Advisors, LLC, a Delaware limited
liability company,

                    Defendants.


         PLEASE TAKE NOTICE THAT IV Media, LLC (“IV Media”), and IV Media

Properties, LLC (“IV Properties”) have noticed their objection to the removal of this action

from the United States District Court for the District of Minnesota to this Court as part of

their notice of special appearance (ECF No. __), submit that this Court lacks subject-matter

jurisdiction, and will file an appropriate response.

         IV Media and IV Properties do not consent to entry of final orders or judgment by

the Bankruptcy Court.




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   Case 25-03043            Doc 4   Filed 05/06/25 Entered 05/06/25 17:14:18         Desc Main
                                       Document    Page 2 of 2



                                                     STOEL RIVES LLP

 DATED: May 6, 2025                                  s/ Marc A. Al
                                                     Marc A. Al (247923)
                                                     33 South Sixth Street, Suite 4200
                                                     Minneapolis, MN 55402
                                                     Telephone: (612) 373-8801
                                                     Facsimile: (612) 373-8881
                                                     marc.al@stoel.com

                                                     Bryan T. Glover
                                                          (Washington State Bar No. 51045)
                                                          (pro hac vice petition to be submitted)
                                                     Brandon E. Lira
                                                          (Illinois State Bar No. 6338242;
                                                          Texas State Bar No. 24127530;
                                                          Kentucky State Bar No. 100654)
                                                          (pro hac vice petition to be submitted)
                                                     600 University Street, Suite 3600
                                                     Seattle, WA 98101
                                                     bryan.glover@stoel.com
                                                     brandon.lira@stoel.com

                                                     COUNSEL FOR IV MEDIA, LLC, AND
                                                     IV MEDIA PROPERTIES, LLC




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